              Case 2:10-cr-00211-GEB Document 385 Filed 01/11/13 Page 1 of 2


 1   BRUCE LOCKE (#177787)
     Moss & Locke
 2   800 Howe Avenue, Suite 110
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     CEDRIC ROBERSON
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-10-211 GEB
                                         )
 9                     Plaintiff,        )
                                         )                 STIPULATION TO AMEND
10                                       )                 MR. ROBERSON’S DATE FOR
           v.                            )                 SELF-SURRENDER FROM
11                                       )                 JANUARY 11, 2013 TO FEBRUARY
     CEDRIC ROBERSON, et al.,            )                 1, 2013
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between Cedric Roberson, by and through
15   his undersigned defense counsel, and the United States of America, by and through its counsel,
16   Assistant U.S. Attorney Jared Dolan, that the date for Mr. Roberson to self-surrender to the facility
17   designated by the Bureau of Prisons should be changed from January 11, 2013 to February 1, 2013.
18   The reason for the change is that Mr. Roberson is the care-taker and guardian ad litum of two minors
19   who live with him and who have a court hearing on January 29, 2013 to obtain court approval of
20   a settlement of a lawsuit that they are involved in and Mr. Roberson is required to be present so that
21   the case can be settled. Mr. Locke and Mr. Dolan reached this agreement on December 26, 2012 but
22   decided not to file the Stipulation and Proposed Order until after the Ninth Circuit Court of Appeals
23   had ruled on the defense motion for release pending appeal. Mr. Dolan has authorized Mr. Locke
24   to sign this pleading for him.
25
26   DATED: January 11, 2013                              /S/ Bruce Locke
                                                    BRUCE LOCKE
27                                                  Attorney for Cedric Roberson
28
29                                                     1
             Case 2:10-cr-00211-GEB Document 385 Filed 01/11/13 Page 2 of 2


 1
     DATED: January 11, 2013                   /S/ Bruce Locke
 2                                       For JARED DOLAN
                                         Attorney for the United States
 3
 4
 5
 6
 7         IT IS SO ORDERED.
 8   Dated: January 11, 2013
 9
10                                    GARLAND E. BURRELL, JR.
11                                    Senior United States District Judge

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29                                          2
